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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
______________________________________________________________________________

UNITED STATES OF AMERICA

v.                                        No. 06cr00235

LATERRICA WOODS
______________________________________________________________________________

          ORDER GRANTING RECONSIDERATION OF SETTING BOND
______________________________________________________________________________

       THIS CAUSE came on to be heard upon the Motion to Reconsider Setting Bond filed on
behalf of the Defendant, Laterrica Woods. It appearing to the Court that the Motion is well
taken and should be granted.
       IT IS THEREFORE, ORDERED, ADJUDGED AND DECREED, by this Court that
bond was reconsidered and set in the amount of $30,000.00 Secured with 10 % Cash paid to the
Clerk of the Court..



                                                      __s/ James H. Allen_______________
                                                  UNITED STATES MAGISTRATEJUDGE

                                                         May 17, 2006_
                                                         DATE
